                                        ATTACHMENT A
                                    S'[ATEMENT OF FACTS
        'l'he undcr!;ignect partics.\lipulole and agree lhol, i/ lhi.\ casc had proceeded lo trial, lhis
Ofice xoultl huvc proven the.fi lon,ing.lActs be),ond a reasonable douht. Thc undcrsigned parlies
also stipulate urul ugrce thut the .folloving -fttcls do not encompuss oll oJ the evidence thut vould
have been presented hul lhis maller proceeded to lrial.

       -fhe
             Eight 'Iray Gangster Crips. or "ETC" Crips. were a violent subset ol the Crips gang
that operated on the streets and in correctional f'acilities in Maryland and elsewhere. For many
years. rhe ETG Crips controlled the drug trade in particular territories in Baltimore City, including
the area around the intersection between West Baltimore Street and North Hilton Street in West
Baltirnore (the "Baltimore t lilton neighborhood"), the area around the intersection betwecn West
Lexington Street and North Fremont Avenue (the "[,exington Terracc neighborhood"), and the
area around the interscction of Frankford Avenue and Sinclair Lane in North Baltimore (the
"Frankford Sinclair neighborhood").

        Thc ETG Crips originated in Los Angeles, Calilornia in the 1970s, and derived their name
lionr 83rd Strect. where thcy were fbrrned. Within the ETG ('rips, various cliques emerged
corresponding to dillerent neighborhoods in Los Angeles, such as the Baccwest E'IC Crips in
West Los Angeles and thc Nutty North Side ETG Crips in North Los Angcles. f')ventually. the
E1'C Crips spread throughout other states across the country. and they becanre prevalenl in
Maryland beginning in the 2000s. ln Baltimore, the ETC Crips mernbers liom the Baltimore
llilton and Lexington 'l'errace neighborhoods referred to themselves as the llaccwest ETG Crips-
modeling themselves alier the Baccu'est ETG Crips in Los Angeles. Sirnilarly, F-TG Crips
membc'rs fiorn thc t.ranktbrd Sinclair neighborhood called themselves thc Nutty North Side ETC
Crips. ETG Crips members frorn different neighborhoods worked togethcr cooperatively to
engage in criminal activity and to avoid detection by law enforcement.

       'fhe acting leader of the Baccwest ETG Crips in Baltimore was the Def'endant, Trayvon
HALL. a./lda "l'ru," who was referred to as a "G" of the gang. ln or about 2013' lhe Defendant
flew to Califbrnia lo meet with West Coast leaders of the ETC Crips and gain their official
approval lor his Baccwest ETG Crips set in Baltimore.

      'Ihe ETG Crips were organized hierarchically, with members clirnbing the ranks from
"BG" (Baby Gangster), to "YG" (Young Gangster). to "G" (Gangster). to "OC" (Original
Gangster). to "OOG" (Original Original Gangster). and so on.

        ti'l'(i Crips rnernbcrs were required to tbllow certain rules ol'condLrct. Members who
violated thesc rules or who disobeyed an order fiom a superior were sub.iected to disciplinary
measures called "sanctions," which ranged from fines to rnurder. Violations that were punishable
by murder included "snitching" (i.c.. cooperating with law enlbrcement): "homosexuality": and
rnurdering a lellow Crip withoul a "greenlight" (r.e.. authorization and approval fiorn thc gang
leadcrship). Other lr'lC Crips rules included: "Never drop your llag." "Respcct all rank." "Never
discuss'Iray business with nobody but Trays." and "Never let anyone disrcspect the set." ETG


                                                   I
Crips mernbers enhanced their status within the gang by carrying out acts o1'violence against rivals
and witnesses.

       Prospective members ol'the ETG Crips were required to successtully complete an initiatron
process, which involved being sponsored by a senior membcr of the gang (rel'erred to as a "Big
Homie"), learning the history and rules ofthe gang, and reciting an oath of loyalty.

        The ETC Crips operated slreet-level drug distribution "shops" in various locations in
Baltimore City. These drug shops distributed heroin. cocaine, cocaine base (commonly known as
"crack"). and marijuana, among olher controlled substances. Non-metnbers who attempted to sell
drugs in the ETc Crips' Ierritories were targeted lbr violence by EI'G crips mernbers. The ETG
Crips' primary drug shops were Iocated in the Baltimore Hilton neighborhood (which the Baccwest
                                                                  '['errace neighborhood, and the
ETG Crips considered to be their headquarters). lh(j Lexinglon
Frank lin S inclair ncighborhood.

        The ETC Crips used social media websites such as lnstagram and YouTube to assert their
claim to particular drug lerritories. intimidate rival gangs and witnesses againsl the gang, enhance
the ETG Crips' status, and enhance individual rnembers' stalus within the gang. Members of the
ETG Crips posted photographs and rap videos to these social media websites in which they
flaunted firearms and threatened to kill those who stood in the way ofthe gang.

        The ETG Crips engaged in crirninal activities in furtherance ofthe gang, including, but not
limited to, acts involving murder. dnrg trafficking, assault, robbery, obstruction of justice, and
witness intimidation and retaliation. By participating in criminal activities in furtherance ofthe
gang. particularly violent acts directed by the ETC Crips leadership, ETG Crips members earned
respect from fellow members and maintained or advanced their position within the gang.

       The Defbndant. Trayvon tlALL. a/k/a "l ru." was the leader ot'the El'G Crips during the
dates ofthe racketeering conspiracy. The Def'endant agreed with Inembers of the ETG Crips to
conducr and participate in the gang's at-fairs through a pattern olracketecring activity that included




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conspiracy to distribute controlled substances, possession with intent to distribute controlled
substances, witness tampering, witness retaliation, robbery, and murder.

       The Defendant agrees that the "Overt Acts" in which he is named in the Superseding
lndictment represent an accurate sample of his activities in furtherance of the racketeering
enterprise.

        In particular, on August 10, 2009, within 3606 Old Frederick Road, Trayvon HALL
possessed with intent to distribute cocaine and possessed a loaded 9mnr Lorcin semi-automatic
handgun with serial number L042040.

        On February 12.2010. within a vacant dwelling at 102 North Monastery Street. Trayvon
HALL, Ronnie FINNEY, and several unindicted co-conspirators possessed with intent to distribute
heroin that had been supplied to them by David JACKSON.

       ln or about 2013, Trayvon HALL traveled to Los Angeles. California to meet with leaders
or "OGs" of the ETG Crips and gain their ofticial approval for his Baccwest ETG Crips set in
Baltimore.

       On April 23. 201 5. Trayvon HAl.[. tested Keith PINSON about his knowledge ol the ETG
Crips. HALL sent PINSON a series of text messages asking: "Wat block u clairn[?]" "What set u
bang[?] and "Would u die lbr rne ??'1" PINSON replied. "Eighly third an normandie. E.T C. Eight
Tray Gangster. u ain't even gotla ask dat 8,angster." PINSON told HALL he wanted to get thc
ETG gang paperwork so he could "stLrdy it like I want to."

       On May 3, 2015. Trayvon HAI-L told Keirh PINSON about a robbery he was planning
with Marcus WILLIAMS. HALL explained that the target was "a monkey" (r.c., a member of the
Black Guerilla Family gang). and that HALL and wILLIAMS had "posted up down there today"
and "they scared foreal."

                                                                     'l'rayvon llALL, Donnell
       On March 16. 2016. in the unit block o1'South Kossuth Street.
FOSTER, and an unindicted co-conspiralor possessed with inlent to distribute heroin. fentanyl,
and cocaine. and possessed a 9mm caliber ATAK Arrns Stalker M-2906 semi-automatic handgun
with serial number 000094. Ienroundsofgmmcaliberammunition.$1.691 in U.S. currency. and
$60 in counterl'eit currency.

       From in or about May 2016 through Novernber 2016, Trayvon HALL. Daran HICKMAN.
Marcus WILLIAMS, and Alvin JOHNSON conspired to murder members of the Black Guerilla
                                                                  'l'errace area of Baltimore.
Family (BGF) gang who operated a rival drug shop in the Lexinglon
including Albert Pittman. Shyheim Brown. Victim'1. and Victim 5.

        On May I 8. 2016. Trayvon HALL told Daran H ICKMAN. Marcus WILLIAMS. and Keith
PINSON that killing a member of BCF. or a "J," was a prerequisite to rnembership in the E'fG
Crips: "to be a Tray u gotta bash a J that's how we rocking now." HALL asked the group tbr


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pictures   oi their B(iF targets. IIICKMAN and Wll.l.lAMS         sent the group photos   ol'Albert
Pittman. Shyheim Brown. and Victim 4.

         On May 18, 2016, Daran tIICKMAN told Trayvon HALL. Marcus Wlt.LlAMS, and Keith
PINSON that he had his eyes on a particular target who was "out liont his spot leanin n car peekn."
HALL explained that t'}lNSON had tried to "drill" sonre of thc rival BGF members the night belbre.
IIALL added. "delinitely nced send sum fire today don't want them getting comfortable." Later,
t'lALt. asked WILLIAMS whether there was a way to approach the basketball court at [-exington
'l'errace from "behind." WIt.t-IAMS replied that there was. and that he and an unindicted co-
conspirator had done it belbrc. l-IALL said they might be able to "catch them like that"-i.e., catch
the BCF members una\.r,ares by approaching the basketball court fiom behind. HALL asked
WILLIAMS whether he was willing to "take [the] lead in a drill" that night. WILLIAMS replied
in the affirmative.

       On May 19.2016, Daran HICKMAN told Trayvon FIALL. Marcus WILLIAMS. and Keith
PINSON that he had.iust seen "Al" (I.c.. Albert Pittman) and some of his associates otf Cherry
Ellossom Way in Lexington l'crrace. HALL asked. "llow u keep seeing them but ain'l no shotz
fired[?]" HICKMAN rcplied. "Cant fire shots wit no strap [.c.. gun] on me." WII-l.lAMS assured
the olhers that it would get done: he just did nol want Io "Waste bullets" and "hit nulfn."
HICKMAN added that he was looking lor opportunities "everyday" and "wen I do wat I do it a be
flnished." HALL agreed: "it's not shooting to be shooling we shoot to kill."

       On May 19. 20 16. '['rayvon HALL told Daran IIICKMAN to ask a tnutual acquaintance
whether "he Willing to line Al up tbr me" (rel'erring to Albert Pittman). HICKMAN said the
acquaintance was willing to do it as long as they made sLrrc to "llnish" Pittman,

         On May 20,2016. 1'rayvon HALL advised Daran HICKMAN, Marcus WIL[.lAMS, and
Keith PINSON thal he had been shooling ind iscrirn inate ly at anyone he thought rnight be afliliated
with BGF in the l-exington 'l'errace area. HALL said: "l'rn trying hit anything I see down der
cause I don't kno who lhat li.c.. BGF] n not so I'rn.ius rocking shit any chance I get so anybody
y'all lirc wit tell them don't be out der cause whcn I gct dcr l'rr hitting anything." HALL and
HICKMAN then rnade plans to mcet up that night in order to drive through Lexington 'l'crrace and
attempt to kill BCF nrembcrs. IIALL said they would havc to "go hard" and "blitz" them fiom
behind because it was the "only u,ay lbr sure killsurn." l llCKMAN replied, "Ilit me wen u ready."
HALL said he would be bringing his "30clip" (a gun with an extended, 3O-round magazine), and
he instructed HICKMAN to tlnd 9mm caliber amtnunilion.

        On May 22.2016, Daran IIICKMAN advised'lrayvon HALL. Marcus WII-t-lAMS. and
 Keith PINSON that hc'saw some ol'thc BGF mernbers at a parlicular location on l-exington Street.
 HALL asked what thel were wcaring. HICKMAN advised that Albert Pittman had on a blue
jacket and that he had.just nroved to Vine Street. Approximately one month later, on June 23.




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2016, members of the ETG Crips attempted to murder Pittman and Brown, but instead shot two
bystanders, Victim 6 and Victim 7. Both victims survived.

        On July 18. 2016.'l'rayvon UALL murdered Albert Pittman' shooting him to death in the
4800 block of Midline Road. within rninutes aller the murder. HALL sent a text message to an
unindicted co-conspirator saying: "Check mate."

        On November l. 2016. Trayvon HALL and an unindicted co-conspirator discussed the
ongoing rivalry whh the "monkeys." t.c.. members ol BGF' in Lexington Terrace. HALL
lamented that Victim 4 was incarceratcd. but vowed to "roc his lil homies." He added. "Only 3 of
em lef out here n they clowns." HALL then sent a photo of Shyheim Brown and Victim 5'
referring to them aS the "lor monkeys" who were "lef down der from they circle." The unindicted
co-conspirator asked whether "we goin 47 yo')"-{rips code fbr murder. HALL replied, "Yea. .
. bout clean them up."

       On Novembe r I     l. 201(r. in the 800 block of West t-exington Street. Trayvon HALL opened
fire on membcrs of      the  rival Black Guerilla Farnily gang. murdering Shyheim Brown and
\/v'ounding Victim 5 and Victim 8. t)onnell t'OSTER supplied his black Honda Accord as the
gelawa) vehicle. lnrmediatcly after thc murder. tlAl.l- sent an unindicted co-conspirator a series
of text messages saying he had "Jus bashcd the monkeys." and they "Wasn't exspecting [sic] me
be out early lmccao laughing rny Gangster crip ass oll." HALL lhen sent a photo of an article
about the rnurder, titled "Triple shooting in Poppleton claims one life, wounds 2 others."

        On January 11,2017, Trayvon HALL told a drug customer that he had a large quantity of
mar'rjuana for sale. and that hc was selling "halfbabys" (a particular quantity of marijuana) for
s30.

      On A pril 2l , 2(\17. 'l'rayvon IIA Lt- askcd an un ind icted co-conspirator for ammunition for
agun. l.ater thal day, IlAl.l. told Alvin JOIINSON. Ronnie FINNEY. Keith PINSON' and Daran
HICKMAN that he (llAt,l.) was trying to "napp bash today" l.c , kill members of BGF.
JOHNSON and FINN[Y both rcplied that they woLrld be available later that day.

        On May I 8,    201   7, 'fravon HALL and Keith PINSON conspired to sell a pound of
marijuana for $2400.

        On May 26, 201 7. 'l'rayvon HALL possessed with intent to distribute marijuana. HALL
told a customer that he charged $225 fbr an ounce or $850 for a quarter pound, but he could offer
better prices "depending who it's fbr."

        On May 27, 201 7. in a recordcd tclephone call, an unindicted co-conspirator told Trayvon
                          ..clip" (i.e.. a magazine) tbr an "AK" style firearm. HALL asked if the
 HALL   that he neetled a
 llrearm was "like the one we got." Thc unindicted co-conspirator replied. "No, it's like an assarlt
joint." HALt. said he rnighr know sonrebody who would have a magazine lbr the assault weapon.



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'l'he unindicted co-conspiraror said he would send HALL a Coogle image ol'the type of lirearm.
rather than a photograph of thc actual firearm. in order to evade police detection.

       On June    l, 2017,ina series of recorded telephone calls, Trayvon l-IALL' Keith PINSON,
and an   unindicted  co-conspiralor conspired to murder Victim 9 based on a belief that Victim 9
had cooperated with law enlbrccment. HAI-L and the unindicted co-conspirator called Victin 9
and accused him of "telling." Victim 9 denied the accusation. saling there was no "paperwork"
to prove it. ln a subsequent call between tiALL. PINSON, and the unindicted co-conspirator.
PINSON said that victim 9 was a "rat." and thal he (PINSON) had seen the paperwork proving it
with his "own eycs." PINSON oftered to get a copy of the paperwork if it would seal Victim 9's
fate: "lfnig**s gonna smash IVictim 9] if I gct it. I can get the paperwork." The unindicted co-
conspirator told IIALL that Victim 9 was on "JelTerson [Street] and Curley IStreet]." but there
was too much police presencc on the block lbr them to be able to kill Victim 9 "right there." UALL
confirmed that PINSON was "about to go pick up thal paperwork." HAI-L told the unindicted co-
conspirator Io bring Victim 9 "to the B-Dub"-1.c., to Baccwesl ETG Crips territory.

         On J uly 3, 20I 7. in thr. -300 block of A llendale Street, lrayvon t-lAl-[- possessed with intent
to distribute approxirnately 132 grams of rnarijuana and possessed a loaded .40 caliber Smith &
Wesson semi-automatic handgun with an oblitcrated serial number.

        Beginning in or about July 201 7. the U'l C Crips used lbrce and violence to lake over the
drug market at the Sunoco gas slation at the intersection of West Baltimore Street and North Hihon
Street. As a result. the gang became embroiled in a dispute with members of a rival drug trallcking
organization tiorn nearby Abington Avenue, who wanted 1o continue selling drugs al the gas
station. HALL directed the E'I C Crips to usc violence to re taliate against anyone who ref'used to
respect the boundaries oftheir newly claimed turf'.

         On July 14. 2017, Christopher Hockaday and Victim l2-both tnembers of the Abington
Avenue drug trallicking organization-attem pted to make a drug sale at the Sunoco gas station
thar the ETG Crips had clainrcd as their lult'. When E'l'C Crips member Maurice Finney. a./k/a
"Mitch." told them they could not sell their product there. Hockaday and victim l2 refused to
back do*,n. As a result. ETG Crips member Deontae Emmons shot Hockaday to death in the 3200
block of West Baltirnore Strcet. Emmons was carrying out IIALL's directive to use violence to
retaliate against anyone who relirsed to respect the boundaries ofthe El'G Crips' drug turl.

        On July 17. 2017. Victim l3 and Victim l2-both members of the Abington Avenue drug
tralficking organ ization-went to the Sunoco gas station tbr the purpose of retaliating against the
E1'G Crips. While there. victim 13 shor and killed Mitch []inney. After Mitch Finney's murder,
Trayvon HALI. instructed the U'l'G Crips to retaliate by killing any and all members of the
Abington Avenue drug trallicking organizalion. whether or not Ihey were involved in Finney's
murder.
                                                                'lrayvon HAL[-. Ronnte
      From in or about July 2017 through in or about July 2019.
ITINNEY, Donnell FOSTER. and Keith PINSON conspired to murder mctnbers of the Abington


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Avenue drug traftlcking organization. including Victim 12.    Victim   13,   Victim   14. and   Victim   15,
as retaliation for Mitch Finney's murder.

       On August 25,2017, Trayvon HALL sent a message to an unindicted co-conspirator who
was incarcerated with Victim 12, one olthe members of the Abington Avenue organization who
had been involved in Mitch Finney's murder. HA[,L instructed the unindicted co-conspirator to
"gel [Victim l2] rnoved on"-i.c.. assaulted or killed.

        On November 13.20l'7, T'rayvon HALL posted a photograph to lnslagram that pictured
HALL and Alvin JOIINSON rnaking ETG Crips gang signs. I-lAl.t- added a caption that served
as a warning lo anyone who might challenge the E'l-G Crips' dominance: "for ever[y] I we want
3"-in other words. fbr every one of their own that was killed. the ETG Crips would take three
lives in retaliation.

       On January 24.2018, within 35 Brookebury Drive in Rcisterstown' Maryland, Trayvon
HALL possessed with intent to distribute over 500 grams of mari.luana, as well as heroin, fentanyl.
and cocaine. and possessed $2.900 in U.S. currency.

         On April 14. 201 8. T'rayvon HALL and Donnell FOS'IER discussed talking to a
disgruntled member of the Abington Avenue drug trafficking organization in order to obtain
intelligence about Victim 14. FOS IER said he thought the disgruntled member was "tryna give
up inlb." HALL agreed that "he tnight wanna serve [Victim l'l] up."

        On May 9. 2018. Donnell ITOSTER provided HALL with intbrmation rcgarding Victim
10, an individual who had previously cooperated with law enlbrcement against a member of the
ETC Crips. FOS I ER told HAL[. that Victim l0 was living in a particular location in Baltimore
Ciry. IlALL inslrucled FOSTER to obtain more "infb lor the way Itol f uc [Victim l0]."

         On June I 2. 2018. 1'rayvon IIAI-L cornplained to Ronnie I'INNEY that an unindicted co-
conspirator had been hanging out on Abington Avenuc with fiiends ol'Victim 14. trlNNEY replied
                                         *on kid tcrnrs" and did not understand things "our way."
that the unindicted co-conspirator was
l-IALL made clear that if the unindicted co-conspirator was going to associate with the enemy' he
should "rnake it worth something" and "line [Victim l4] up for us" or otherwise "get niggas some
infbnnation." On June 23. 201 tl. HALL sent F INNEY photographs of the unindicted co-
conspirator standing with Victim l5 and asked how lilNNEY could "be so close" to someone who
atliliated \4,ith Victim l4 and Victim 15. FINNUY re plied that thc unindicted co-conspiralor was
'Jus young n dunr b."

       On June 24. 2018. Trayvon    IIALL   infbrmed Marcus   Wll.[.lAMS that a there      was a $5.000
bounty on Victim l7's head. HAt.l. sent WILLIAMS a photograph of Victim 17. WILLIAMS
asked whether it was an
                        ..os"-i. s.. whether victim l T shou ld be killed "on sight." HALLreplied.
"Yeah." WILLIAMS replied, "Say less [emo.ii of OK sign]."

       On July 6, 2018. Trayvon HALL opened lire on members     ofthe Abington Avenue drug
tratlicking organization who were playing dice in the unit block of Abington Avenue. killing
Steven McKnight, a/k/a "Bo," and wounding Victim 18. HALI- shot the victims lrom inside a
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white CMC Acadia that belonged to Keith PINSON. IIALL used thc same 9mm caliber firearm
thal had been used to kill another ntetnber of the Abington Avenue organization' Theron
McClary, the previous summer. The day aller the rnurder. HALL sent an Instagram message to
Ronnie FINNEY with a link to a newspaper article about the murder. HALL also posted a
photograph to his lnstagram account dcpicting Mitch t"inney making an [i'fc Crips gang sign, as
wellas the text. "Move in silence, Only speak When it's time to say Chcckmate."

        On January 12.2019. Ronnie FINNEY sent Trayvon HALL a photograph ofan AR-15
firearm and said he could purchase it lbr $ 1200 from a particular individual. HALL suggested that
they rob the individual ofthe weapon instead. calling him "easy money."

       On January | 5, 201 9, Trayvon IIALL asked members of the E'l C Crips if anyone had a
photograph of Victim 13. the member of the Abington Avenue organizalion who had killed Mitch
Finney. Donnell FOSI'ER said he had been "trying for a while" to get one. FOSTER later sent
HALL a blurry photograph of Victim 13.

        On February 5.2019. Trayvon HALL instruoled Donnell FOSTER to push                    Ronnie
FINNEY and AIvin JOI{NSON to "put in ... work" to avenge Mitch Finney's dealh. I-'OSTER
said he had asked Keith PINSoN ro drive hirn through Abington Avenue the day betbre. but
PINSON did not rvant use "his whecls" because "he already scored in theln" a reftrence to
PINSON's participation in the murdcr of Steven McKnight. HALL suggested getting a ride from
FINNUY. Daran HICKMAN. or Marcus WILLIAMS instead.

       On February 5.2019. Trayvon HALL instructed Keith PINSON to "push" the other
members of the gang to "drill"-1.c.. carry out acts of v iolence in furtherance of the gang. PINSON
said he had already been talking to Ronnie FINNEY, Donnell FOSI'ER. and Alvin JOHNSON
about "h ittin da gas."

                                                      '[
         On February 6. 2019, Donnell FOS'IER told rayvon HALL that he was looking fbr a gun
so he could "get somcthing done." On February 8.2019. FOSTER indicaled that he was preparing
to try to shoot at the gang's rivals on Abington Avenue and that he planned to bring Ronnie
FINNEY wirh hirn. HA[-l- encouraged FOSTER to be confldent. telling him he "would have the
upper hand" because the Abington Avcnue crew was "not exspecting lsicl it." HAt.L tried to
pump FOSTER up fbr the kill, telling hinr:'Jus[t] think wat I would do" and "no turning bac[k]
it's all [a]bout energy." l-ater. FOS'I tlR reported that Abington was a ghost town. IIALL told
FOS'MR he should lie in wait in a particular spot behind the Sunoco gas station and "have
somebody give word" when the opportune nroment arose. FOSTER said he had been trying to get
some people fiorn the neighborhood to scrve as lookours. HALL told FOSTER to offtr $1.000
for inlbrmation about their targets' whereabouts. FOSI'tiR agreed and then said, "Deleting these
messages now."

        On February 10. 2019. Ronnie FINNEY lold Trayvon HAL[- that someone had "locced
eyes" with him when he rode past "the A" (i.e.. Abington Avenue). HALL told FINNEY that he
               .'a
had promised       band" (r.c., $ | .000) to an individual in exchange tbr intbrrnation about where to
find the Crips' rivals on Abington Avcnue. HAL[- said he planned to "push niggas out ASAP,"
adding that it was "disrespectful for nig+*s [to] be hanging out w[h]ere Mitch got killed." HAI.L
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bragged that clealing out Ab ington Avenue would be easier than the dead ly shooting he had carried
out at Lexington 'l'errace, saying: "this shit easier den the terrace chit thcy was holding they ground
to[o]   till I wild it out." HALL  indicatcd that he was having trouble tcaching the younger, less
experienced mernbers ol'the gang to be profcssionals. and that he was about to let them "be wild
an[d] Iearn like I did" and "gct that t'ecling an power tiom lhe slarnmcr." HALL also warned that
"ifniggas ain't scoring" (l.c.. rnaking kills). then they lr'ould "need Ito] push cm out the hood "

         OnFebruaryl5.20lg,TrayvontJAL[-criticizedRonnieFlNNEYtbrnotdoingenoughto
avengeMitch Finney'sdeath. HAL[, warncd:"niggas goin [to] kill one the m niggas or be tbrce[d]
[to] try [to] kill rne." FINNE,Y insisted that he had been doing his part. saying"'l've never said
no to any moves niggaz went on." F'|NNI!.Y reminded HALL that he had accompanied HALL on
"that first joint"-rr:lbrring to a previous act of violence-saying "yu can take all the cred . . . but
my presen[ce] there woulda carried the samc time as urs if shit wcnt lefl."

       On February 16.2019. Ronnie IrlNNllY told Trayvon HALt. that he had threatened an
individual t-rom the Abington Avenue drug tratficking organization with a gun. FINNEY said:
"IH]e seen the jit]y his dumb ass was shaking in his boots I u'as gonna slap him witIh] that bitch
but he was pleading Lik[e] a bitch."

       On February 17.2019. Trayvon HAI-t. told Donnell FOS'IUR that he was going to "make
a[n] example out" ol'one of the members ot'Baccwest ETC Crips tbr f'ailing to do enough to
avenge Mirch Finney's death. HALL indicated that he planned to administer one oltwo forms of
gang sanction cither a "DP" (shon lbr "discipline") or "walking papers" (i.c., expulsion from the
gang).

        On March 13.2019. Trayvon HAL[. lamented to ETC Crips member Deonlae Emmons
that Victim l3 had been booked for a robbery befbre the ETG Crips could get to him. HALL said
                                                                                         *wit
he did not know whether "somebody lold on" Victim l3 or whether Victim l3 got caught
that gun thal killcd" Mitch Finney.

       OnMarch 18,2019, Trayvon HAt-t- uscd hiscell phone to look up news articles about the
murders of Theron McClary and Steven McKnight. He then edited rap lyrics aboul exactinB
vengeance on membcrs of the Abington Avenue organization lbr killing Mitch Finney. HAI-l-
wrote: "[T]awonda I love yah vah son nry' brother ..now listen the nig**s who killed him .. them
nig**s been getting it lately . . . I'm heartless bitch an That's on Mitch-"

       On April 11.2019, the ETG Crips cnlisted the help ola ncwly recruited member in an
attempt to murder Victim 15. The new recruit drove rnembers olthe [i'l C Crips through thc unit
block of Abington Avenue while they shot at victim l5 using a 9lnrn caliber firearm and a .45
caliber firearm. Victim l5 was hit in thc shoLrlder but survived. An hour later, Marcus
WILLIAMS sent'll'ayvon HALL a screenshot ola news article about the shooting.

        On April 14. 2019, HALL used coded language to inform Keith PINSON that the newly
recruited member had taken part in the shooting of victim l5 the day befbre. HALL said the new
recruit was..shaky" and "driving gooty." and that he kept "asking questions bout the police." but
        ,'he goin be good he learning." t,ater that day. HALL congratulated the new recruil on
added,
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                                                   .)
.joining the E-l-G Crips. telling hirn "u tarnily now," and instructing him about the lonnation and
 leadership of the gang. tlALL. explained that the new recruit was fiom the "Baccwest" side ofthe
 ETG Crips, "also known as thc Bdub," which "started in 1987," whereas "ETC itselfstarted Iin]
 1975." But HAt,t, clarifled that the "sides" of the gang were really just "blocks" or "gps"
coordinates; they represented "what part ofthe set u from." but they were all the sarne gang.

        On or about May I 9, 20 I 9. HALL provided a co-conspirator with a 9 mm Sig Sauer P220
pistol, which the co-conspirator used to shoot Victim 22 in the 4900 block of Greencrest Road.
HALL served as the getaway driver following the shooting, which Victim 22 survived.

     On July 31. 2019. in the 1400 block ol Hadwick Drive in Essex. Maryland, Trayvon HA LL
        a loaded .40 caliber Smith & Wesson semi-automatic handgun with serial number
possessed
HLA8409 and ETG Crips writings.

       The Del'endant agrees that he conspired with other members of the ETC Crips to distribute
heroin and cocainc base in tirlherance of the gang, and that it was reasonably tbreseeable to him
that 100 granrs or ntore of heroin and rnore lhan 28 grams or more ofcocaine base would be
distributed b1 rnenrhers ol'thc eonspiracl.

        SO   S', I't rt.A It:t):



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                                      Kirn Y        harn
                                      Assistant United States Attornevs




                                      Trayvon Hall
                                                                                     LL
                                      Det'endant



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                                      Cof,nsel tbr De fendant




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